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                                                                                               #28 (1/28 hrg off)
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.       CV 17-8826 PSG (MRWx)                                       Date   January 25, 2019
 Title          BMW of North America, LLC et al. v. WIN.IT America, Inc. et al.




 Present: The Honorable        Philip S. Gutierrez, United States District Judge
                   Wendy Hernandez                                          Not Reported
                      Deputy Clerk                                         Court Reporter
            Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):
                       Not Present                                           Not Present
 Proceedings (In Chambers):           The Court DENIES Defendant’s motion for summary
                                      judgment

      Before the Court is Defendant WIN.IT America, Inc.’s (“Defendant” or “WIN.IT”)
motion for summary judgment. See Dkt. # 28 (“Mot.”). Plaintiffs BMW of North America,
LLC and Bayerische Motoren Werke, AG (“Plaintiffs”) oppose the motion, see Dkt. # 37
(“Opp.”), and Defendant replied, see Dkt. # 49 (“Reply”). The Court finds the matter
appropriate for decision without oral argument. See Fed. R. Civ. P. 78; L.R. 7-15. Having
considered the moving papers, the Court DENIES Defendant’s motion for summary judgment.

I.       Background

       Plaintiffs design and manufacture various items, from motor vehicles and automotive
accessories to lighters, key chains, and USB flash memory drives, branded with BMW marks for
which they own “numerous federal trademark registrations.” See First Amended Complaint,
Dkt. # 17 (“FAC”), ¶¶ 15, 19. Plaintiffs’ products have earned “a reputation for innovation,
quality and performance,” through which Plaintiffs “have built up and developed significant
goodwill.” Id. ¶¶ 16–17.

       Defendant is a fulfillment company with locations in California and Kentucky.
Defendant’s Statement of Undisputed Facts, Dkt. # 49-1 (“SUF”), ¶ 1. It is a wholly owned
subsidiary of WIN.IT (Hong Kong) Trading Ltd., which is a subsidiary of WIN.IT (Shanghai)
Information Technology Co. Id. Defendant provides warehousing, order fulfilment, and
distribution services to sellers of e-commerce products in China who are customers of
Defendant’s parent companies. Id. ¶¶ 2–3. Ninety to ninety-five percent of Defendant’s
customers are from China. Id. ¶ 3.



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       Plaintiffs allege that Defendant imports, warehouses, sells, and distributes counterfeit
goods bearing the BMW marks (“Counterfeit Goods”). FAC ¶ 24. To demonstrate, Plaintiffs
attached to their complaint receipts from fourteen transactions in which they purchased the
Counterfeit Goods from various sellers on eBay (“the Third-Party Sellers”). FAC, Exs. A–N.
Plaintiffs dispatched five cease and desist notices to Defendant, but they allege that Defendant
continues to import, warehouse, and distribute the Counterfeit Goods. Id. ¶ 71.

         Plaintiffs assert the following six causes of action:

         First Cause of Action: Trademark infringement, 15 U.S.C. § 1114. Id. ¶¶ 74–84.

         Second Cause of Action: False designation of origin & unfair competition, 15 U.S.C.
         § 1125(a). Id. ¶¶ 85–94.

         Third Cause of Action: Trademark dilution, 15 U.S.C. § 1125(c). Id. ¶¶ 95–100.

         Fourth Cause of Action: Unlawful, unfair, or fraudulent business practices, Cal. Bus. &
         Prof. Code §§ 17200 et seq. Id. ¶¶ 101–09.

         Fifth Cause of Action: Contributory trademark infringement. Id. ¶¶ 110–20.

         Sixth Cause of Action: Vicarious trademark infringement. Id. ¶¶ 121–127.

         Defendant now moves for summary judgment on all claims. See generally Mot.

II.      Legal Standard

        “A party may move for summary judgment, identifying each claim or defense—or the
part of each claim or defense—on which summary judgment is sought. The court shall grant
summary judgment if the movant shows that there is no genuine dispute as to any material fact
and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

       A party seeking summary judgment bears the initial burden of informing the court of the
basis for its motion and identifying those portions of the pleadings and discovery responses that
demonstrate the absence of a genuine issue of material fact. See Celotex Corp. v. Catrett, 477
U.S. 317, 323 (1986). If the nonmoving party will have the burden of proof at trial, the movant
can prevail by pointing out that there is an absence of evidence to support the moving party’s


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case. See id. If the moving party meets its initial burden, the nonmoving party must set forth, by
affidavit or as otherwise provided in Rule 56, “specific facts showing that there is a genuine
issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

        In judging evidence at the summary judgment stage, the court does not make credibility
determinations or weigh conflicting evidence. See T.W. Elec. Serv., Inc. v. Pac. Elec.
Contractors Ass’n, 809 F.2d 626, 630 (9th Cir. 1987). Rather, it draws all reasonable inferences
in the light most favorable to the nonmoving party. Id. at 630–31. The evidence presented by
the parties must be capable of being presented at trial in a form that would be admissible in
evidence. See Fed. R. Civ. P. 56(c)(2). Conclusory, speculative testimony in affidavits and
moving papers is insufficient to raise genuine issues of fact and defeat summary judgment. See
Thornhill Publ’g Co. v. Gen. Tel. & Elecs. Corp., 594 F.2d 730, 738 (9th Cir. 1979).

III.     Judicial Notice and Evidentiary Rulings

        Plaintiffs have submitted a request for judicial notice of two documents: a trademark
registration certificate and a court order from the Eastern District of Pennsylvania. Request for
Judicial Notice, Dkt. # 43. While the Court recognizes that they are likely proper subjects for
judicial notice, it does not find them necessary for deciding this motion and therefore does not
rely on them.

        Plaintiffs have also asserted evidentiary objections along with their opposition. See Dkts.
# 44–45. Defendant responded to these objections. See Dkt. # 52. To the extent that the Court
relies on objected-to evidence, it relies only on admissible evidence and, therefore, the
objections are overruled. See Godinez v. Alta-Dena Certified Dairy LLC, No. CV 15-01652
RSWL (SSx), 2016 WL 6915509, at *3 (C.D. Cal. Jan. 29, 2016).

IV.      Discussion

         A.      Direct Trademark Infringement Claims (Claims 1–4)

                 i.     “Use in Commerce”

        To establish a claim of direct trademark infringement, a plaintiff must show that (1) it has
a valid, protectible trademark, and that (2) defendant’s use of the marks in commerce (3) is
likely to cause confusion. See Free Kick Master LLC v. Apple Inc., 140 F. Supp. 3d 975, 979
(N.D. Cal. 2015) (citing Applied Info. Scis. Corp. v. eBay, Inc., 511 F.3d 966, 969 (9th Cir.


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2007)); see also 15 U.S.C. § 1114(1). The parties do not dispute that Plaintiffs have a valid
trademark or that the Counterfeit Goods were likely to cause confusion. Instead, the point of
contention is whether Defendant’s handling of the Counterfeit Goods falls within the meaning of
“use in commerce” under the Lanham Act. “Use in commerce” is a statutory requirement of the
trademark infringement, false designation of origin, and trademark dilution claims, see 15 U.S.C.
§§ 1114(1)(a), 1125(a)(1), 1125(c)(1), and, by extension, California’s unfair competition law
claim, see Century 21 Real Estate Corp. v. Sandlin, 846 F.2d 1175, 1178 (9th Cir. 1988) (“The
ultimate test for unfair competition is exactly the same as for trademark infringement[.]”).

       “The term ‘use in commerce’ means the bona fide use of a mark in the ordinary course of
trade,” and a mark is deemed to be used in commerce when it is “placed in any manner on []
goods” and “the goods are sold or transported in commerce.” 15 U.S.C. § 1127. Courts have
held that the “use in commerce” requirement is satisfied by the importation and transport of
counterfeit goods, even in cases where the defendant never actually possessed the goods. See,
e.g., Philip Morris USA v. Liu, 489 F. Supp. 2d 1119, 1122 n.2 (C.D. Cal. 2007). In contrast,
this Court previously held in its motion to dismiss order that misconduct “limited to facilitating
sales and placing shipping labels on the Counterfeit Goods” was not enough to impose liability
on Defendant. March 14, 2018 Order, Dkt. # 16 (“Mar. 14 Order”), at 4. This conclusion was
based on various other district court cases that found no liability in analogous circumstances.
See Perfect 10, Inc. v. Giganews, Inc., No. CV 11-7098 AHM (SHx), 2013 WL 2109963, at *14
(C.D. Cal. Mar. 8, 2013) (dismissing a direct trademark infringement claim where the defendant
provided access to an online forum where content bearing a trademark may be obtained); Free
Kick Master LLC v. Apple Inc., No. 15-cv-3403-PJH, 2016 WL 777916, at *8–10 (N.D. Cal.
Feb. 29, 2016) (dismissing claim where an infringing good had been “available in defendants’
online stores”); see also Milo & Gabby, LLC v. Amazon.com, Inc., 12 F. Supp. 3d 1341, 1345,
1352–53 (W.D. Wash. 2014) (dismissing claims where “the bare factual allegations” that
Amazon “enables third-party vendors to sell and distribute a variety of products to the public
while Amazon ‘fulfills’ the orders” offer “no factual basis to support the intent and knowledge
element of trademark counterfeiting”).

       Defendant seizes on the Court’s prior ruling and argues that its alleged misconduct was
“limited to facilitating sales and placing shipping labels on the accused products.” Mot. 18:2–5.
Plaintiffs contend that there remain genuine disputes of material fact concerning whether
Defendant imported and further distributed the Counterfeit Goods. Opp. 11:20–13:27.

      Quanli Liu, the General Manager of WIN.IT America, describes Defendant’s services as
follows. Customers ship their merchandise from China to Defendant. See Deposition of Quanli


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Liu, Dkt. # 37-7 (“Liu Dep.”), 50:24–52:7. They may do this either by directly sending the
goods to Defendant’s warehouses or delegating the task of shipping to WIN.IT (Shanghai). Id.
98:5–9. When the shipments arrive, Defendant sorts the goods by Stock Keeping Unit (SKU)
and quantity and finds an appropriate storage location for each SKU within its warehouses. See
id. 50:24–52:7, 132:23–135:1. Once Third Party Sellers sell their products through online
platforms such as eBay, Defendant locates the products, generates a shipping label for either
USPS or UPS, places the label on the packages, and mails them. See id.

        Plaintiffs claim that there is more to the story. To fill in the alleged gaps in Defendant’s
operations, Plaintiffs submit a declaration from Rosemary Coates, who is proffered as an expert
on Chinese sourcing and manufacturing. See Declaration of Rosemary Coates, Dkt. # 37-2
(“Coates Decl.”). According to her curriculum vitae, Coates has more than thirty years of
experience in global supply chain management, including sourcing and manufacturing in China,
import/export, logistics, warehousing, and distribution. Id. ¶ 2, Ex. 1 at 1. She has made dozens
of trips to China on behalf of her clients, id. ¶ 2, and has authored five supply chain books,
including “42 Rules for Sourcing and Manufacturing in China,” id. ¶ 5. Further, Coates is a
Licensed U.S. Customs Broker and is empowered by the U.S. Customs and Border Protection
(“CBP”) to assist importers and exporters in meeting federal regulations governing imports and
exports. Id. ¶ 7. She states that her opinions are formed after reviewing the facts, testimony, and
evidence provided in this case and based on her own experience, observations, and knowledge.
Id. ¶ 11. Based on her background and representation, the Court finds that Coates is qualified to
opine on how e-commerce fulfillment processes typically work in a cross-country setting
(especially as it pertains to China) and that her declaration is admissible. See Fed. R. Evid. 702.

       Coates opines that, in order for Defendant to receive products at its warehouses in the
United States, the goods must be formally imported and clear U.S. Customs. Id. ¶ 15. All
shipments exported from China and imported into the United States would be delivered to
Defendant along with several customary shipping and customs clearance documents that specify
the terms of sale and identify the exporter and importer of record. Id. ¶ 16. Coates further
claims that if products are shipped to Defendant’s warehouses in the United States, “WIN.IT
America” would be listed as the “importer of record” and the “ultimate consignee,” even if a
third-party carrier is responsible for physically transporting the goods. See id. ¶¶ 18–19. And as
the importer of record and the ultimate consignee for the freight arriving at its warehouses,
Coates states that Defendant is responsible for confirming the goods received, warehoused,
picked, packed, and shipped do not violate another’s intellectual property (“IP”) rights. Id. ¶ 31.




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        Coates notes several ways to identify the importer of record or the consignee for a
shipment. First, when CBP seizes goods passing through the customs clearance process based
on trademark violations, a “seizure notification letter” is sent to the owner of the IP at issue, the
importer of record, and the consignee for the shipment. Id. ¶ 23. She explains that Defendant’s
status as the importer of record and consignee for products exported from China is evident based
upon a seizure notification letter Defendant received at its California warehouse. See id.; Ex. 5
to Declaration of Marcus F. Chaney (“Chaney Decl.”), Dkt. # 48-1. Second, Coates points to
data retrieved from Panjiva Inc., a global trade data company that provides import and export
details on commercial shipments worldwide. Coates Decl. ¶ 24; Ex. 6 to Chaney Decl., Dkt.
# 37-9. Panjiva’s data listed Defendant as the ultimate consignee for various products sent from
Defendant’s parent company and other Chinese shippers. Id.

       Defendant responds that there is no genuine dispute that Defendant is not the importer of
the Counterfeit Goods. First, it refers to Mr. Liu’s testimony that “[n]either [WIN.IT
(Shanghai)] nor [WIN.IT America] export or import [sic] third-party products.” Declaration of
Quanli Liu, Dkt. # 28-8 (“Liu Decl.”), ¶ 7. Further, Defendant states in its verified interrogatory
responses that it had not found documents through a reasonable search that Coates claims would
indicate Defendant as the importer. See Ex. K to Declaration of Jeremy T. Elman (“Elman
Decl.”), Dkt. # 49-9. Defendant also attacks Coates’s declaration as “false conjecture,” pointing
out that the seizure notification letter and the Panjiva record she cites were both not specific to
BMW products at issue, but other products. Reply 10:19–20, 11:17–24.

        Even so, the Court does not find that Coates’s declaration is wholly irrelevant. Although
Coates refers to records that are not specific to BMW products, her explanation of the
import/export process in fulfillment services, along with the evidence she cites, serves at least as
circumstantial evidence that Defendant had acted as the importer of the Counterfeit Goods at
issue. At the summary judgment stage, the Court does not weigh the credibility of the evidence
and draws all reasonable inferences in the light most favorable to the nonmoving party. See T.W.
Elec., 809 F.2d at 630–31. Applying this standard, the Court concludes that there remain
genuine disputes of fact as to whether Defendant “imported” the Counterfeit Goods, such that its
handling of the Counterfeit Goods constituted “use in commerce” within the meaning of the
Lanham Act.1 As such, the Court DENIES summary judgment as to the first four claims.

1
 Plaintiffs repeat their argument that Defendant’s mailing of the Counterfeit Goods is
“distribution” that is considered a “use in commerce” under the Lanham Act. Opp. 12:24–13:27.
The Court declines to revisit this issue and reaffirms its holding that simply retrieving items and
affixing a shipping label and mailing via USPS or UPS are not enough to be considered “use in

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                 ii.    Nominative Fair Use

       Nominative fair use is a defense to trademark infringement. It applies where the use of a
trademark is “necessary to describe the plaintiff’s product and does not imply a false affiliation
or endorsement by the plaintiff of the defendant.” Lasoff v. Amazon.com Inc., No. C16-151 BJR,
2017 WL 372948, at *7 (W.D. Wash. Jan. 26, 2017) (quoting Tiffany (NJ) Inc. v. eBay Inc., 600
F.3d 93, 102–03 (2d Cir. 2010)).

        In its prior order, the Court noted that “[a]t least one court has suggested that when a
‘plaintiff alleges that defendants are using [a mark] in connection with a product that is not the
plaintiff’s product, but rather, a counterfeit product, the nominative fair use doctrine does not
apply.’” Mar. 14 Order at 5 (quoting Slep-Tone Entm’t Corp. v. Shenanigans Lounge, No. 6:12-
cv-1236-TC, 2013 WL 1768444, at *3 (D. Or. Feb. 22, 2013)). However, recognizing that it
would be unfair to find that this defense is unavailable to companies that used the trademark to
refer to products that they believed to be genuine but turned out to be counterfeits, the Court
found it relevant whether Defendant knew or had reason to know of the infringement to
determine if the nominative fair use applies here. See id.

       As the Court discusses below, it finds that there is a genuine dispute of fact as to whether
Defendant knew or had reason to know of the infringement when it distributed the Counterfeit
Goods. Therefore, the Court DENIES summary judgment on the first four claims on this basis
as well.

         C.      Contributory Trademark Infringement (Claim 5)

         “[I]f a manufacturer or distributor intentionally induces another to infringe a trademark,
or if it continues to supply its product to one whom it knows or has reason to know is engaging
in trademark infringement, the manufacturer or distributor is contributorily responsible for any
harm done as a result of the deceit.” Inwood Labs., Inc. v. Ives Labs., Inc., 456 U.S. 844, 854
(1982). A service provider can be similarly liable if it exercises “[d]irect control and monitoring
of the instrumentality used by a third party to infringe the plaintiff’s mark.” Lockheed Martin
Corp. v. Network Sols., Inc., 194 F.3d 980, 984 (9th Cir. 1999).

      Here, Defendant contends that it had no reason to know that the accused products were
counterfeits. First, before WIN.IT (Shanghai) accepts a product from a Third-Party Seller to be

commerce.” See Mar. 4 Order at 4.

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fulfilled by Defendant, the Seller must review and agree to a set of terms and conditions, called
the “Supply Chain Management Service Agreement,” on WIN.IT (Shanghai)’s website. SUF
¶ 6. Because Third-Party Sellers represent to Defendant that they are not violating anyone’s IP
rights by agreeing to these terms and conditions, Defendants argue that they did not have reason
to know that the Sellers were selling counterfeits. Mot. 11:5–7; Ex. A to Elman Decl., Dkt. # 49-
3 (“Service Agreement”), § 6.1 (“[The Seller] shall guarantee that the copyright, trademark right,
patent right and other intellectual property rights are not in violation of the applicable provisions
of the relevant countries. [The Seller] shall assume any and all legal consequence and economic
loss due to failure to meet this obligation including the loss of [WIN.IT].”). Second, Defendant
claims that, upon notification of infringement from Plaintiff, it stopped offering its fulfillment
services for the accused products. Mot. 6:24–7:16. In support, Defendant points to evidence
from its inventory management system that showed that it stopped fulfillments of counterfeit
items, identified by SKUs, within a few weeks after Plaintiffs’ notifications. See id.; see Ex. 4 to
Declaration of Peng Chu (“Chu Decl.”), Dkt. # 28-7, at 3.

       Plaintiffs point out that a discrepancy in the record creates a genuine issue of fact. Opp.
14:16–20. Although Defendant’s business records show surplus inventory for at least three of
the Counterfeit Goods identified by Plaintiffs, Mr. Liu, in his deposition, denied that Defendant
had any remaining inventory of the counterfeits or recalled ever segregating any surplus
inventory. Id.; Ex. 4 to Chu Decl. at 1; Liu Dep. 156:19–157:13. Plaintiffs ask: “If WIN.IT
America stopped distributing counterfeit goods shortly after notice, then why are all of the goods
gone[?]” Opp. 14:19–20.

        Defendant insists that there is no genuine dispute of fact because its business records
show that it has remaining inventory of the accused products and so Plaintiffs are incorrect that
all of the products are “gone.” Reply 3:24–26. Further, Defendant suggests that Plaintiff’s
reliance on “a snippet of Mr. Liu’s deposition indicating that he was personally unaware if there
was any remaining inventory . . . of the accused products” was not enough to rebut the business
records. Id. 3:16–19. However, this misstates what Mr. Liu indicated in his deposition. He
stated that there was no longer any inventory of the Counterfeit Goods based on the inventory
records he saw. Liu Dep. 157:2–13.

       Ultimately, the Court cannot definitively conclude that the business records are infallible
and therefore are more credible than Mr. Liu’s testimony. Nor does the Court find it appropriate
to do so at the summary judgment stage, where courts may not make credibility determinations
or weigh conflicting evidence. See T.W. Elec., 809 F.2d at 630. Therefore, drawing all
reasonable inferences in the light most favorable to Plaintiffs, the Court finds that there remains


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a dispute of fact as to whether Defendant continued to fulfill orders of Counterfeit Goods after it
was informed about the trademark infringements.

        Plaintiffs also claim that Defendant failed to show any account “suspension” after being
informed that the account was selling Counterfeit Goods. Opp. 14:22–15:3. Defendant counters
that there is significant evidence that WIN.IT (Shanghai) suspended the accounts of at least nine
of the sixteen unique eBay Seller IDs identified in the complaint from placing fulfillment orders
for the accused products. Reply 4:1–13. In support, it offers signed letters from Third-Party
Sellers agreeing to a fine and that WIN.IT would no longer fulfill orders for the counterfeit
products, Exs. 9–10 to Chaney Decl., Dkts. # 39-3–39-5, as well as letters from WIN.IT to
Third-Party Sellers that state “the cooperation between you and us shall terminate,” Ex. H–I to
Elman Decl., Dkts. # 51-3–51-4. Be that as it may, there still remain seven Third-Party Sellers
for which Defendant has not taken steps to notify them of the counterfeit claims or prevent the
distribution of their Counterfeit Goods.

        Plaintiff’s focus on whether Defendant suspended the accounts of those who sold
Counterfeit Goods rather than whether it stopped fulfilling orders for the Counterfeit Goods
makes sense. In its complaint, Plaintiffs identified two instances where despite informing
Defendant of eBay sellers that sold Counterfeit Goods, they later confirmed that the same eBay
sellers were continuing to sell such products. FAC ¶¶ 42–43. Defendant’s inventory
management record shows that these sellers used different eBay IDs and SKUs to sell the
Counterfeit Goods. Ex. 4 to Chu Decl., at 3. Even so, Defendant’s own evidence also shows
that it had the ability to link these eBay IDs and SKUs to the same customer. See id. Although
Defendant claims that “WIN.IT did not know that at the time it provided fulfillment services to
[the same eBay seller] because the SKUs were different in WIN.IT’s business records,” Mot.
12:13–15; see also id. 12:16–27, it does not support this statement with specific evidence other
than referring back to the inventory records. Taking all reasonable inferences in the light most
favorable to Plaintiffs, the fact that Defendant’s records show that a customer found to have sold
an infringing product was also selling similar counterfeits using a different SKU creates a
genuine issue of fact as to whether Defendant knew or had reason to know that it was continuing
to offer services to sellers engaging in trademark infringement.

       As such, the Court DENIES summary judgment as to the contributory trademark
infringement claim.




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         D.      Vicarious Trademark Infringement (Claim 6)

        A defendant is liable for vicarious trademark infringement when “the defendant and the
infringer have an apparent or actual partnership, have authority to bind one another in
transactions with third parties or exercise joint ownership or control over the infringing
product.” Perfect 10, Inc. v. Visa Int’l Serv. Ass’n, 494 F.3d 788, 807 (9th Cir. 2007). Here, it is
undisputed that the Third-Party Sellers enter into agreement with WIN.IT (Shanghai) and
WIN.IT (Hong Kong) for the fulfillment services that Defendant provides. See SUF ¶ 6.
Defendant moves for summary judgment on this claim based on the language in the “Supply
Chain Management Service Agreement” that it argues expressly states an independent contractor
relationship between the Sellers and Defendant. Mot. 14:11–15:5. Specifically, the contract
states, “[WIN.IT] is an independent contractor providing warehousing and transportation
services to [Seller], not the legal representative, agency, joint venture participant, partner,
employee of or the one joint with [Seller] for any purpose.” Service Agreement § 2.1. It further
notes, “Neither Party has any right or authority to assume or create any obligation of any kind or
to make representation or warranty on behalf of the other Party, whether express or implied, or to
bind the other Party in any respect or manner whatsoever” Id. § 11.2.

        Plaintiffs have not presented any contrary evidence to show an agency or partnership
relationship. Instead, Plaintiffs’ objections to Defendant’s argument center around the
admissibility of the agreement. For example, Plaintiffs note that Defendant failed to produce
any executed copies nor a certified translation of the agreement. Opp. 19:7–11. Defendant
claims that it has remedied these objects by producing signed versions of these agreements and
the certified translation with its Reply brief. See Service Agreement; Elman Decl., Dkt. # 49-2,
¶ 3. However, the Court declines to consider this new evidence without giving Plaintiffs an
opportunity to object to them. See Provenz v. Miller, 102 F.3d 1478, 1483 (9th Cir. 1996)
(“[W]here new evidence is presented in a reply to a motion for summary judgment, the district
court should not consider the new evidence without giving the [non-]movant an opportunity to
respond.”). Therefore, the Court sustains Plaintiffs’ objections and finds that Defendant has
failed to show that no genuine dispute of fact exists to defeat Plaintiffs’ vicarious liability claim.

       As such, the Court DENIES Defendant’s motion for summary judgment as to the
vicarious trademark infringement cause of action.




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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       CV 17-8826 PSG (MRWx)                                   Date      January 25, 2019
 Title          BMW of North America, LLC et al. v. WIN.IT America, Inc. et al.

IV.        Conclusion

           For the foregoing reasons, the Court DENIES Defendant’s motion for summary judgment
in full.

           IT IS SO ORDERED.




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